                           IN THE UNITED STATES DISTRICT COURT
                              EASTERN DISTRICT OF TENNESSEE
                                      AT KNOXVILLE



UNITED STATES OF AMERICA,                             )
                                                      )
                               Plaintiff,             )
                                                      )
                      v.                              )       No. 3:05-CR-124
                                                      )       (JORDAN/GUYTON)
KENNETH BRIDGES, et al.,                              )
                                                      )
                               Defendants.            )



                                MEMORANDUM AND ORDER

               All pretrial motions in this case have been referred to the undersigned pursuant to 28

U.S.C. § 636(b) for disposition or report and recommendation regarding disposition by the District

Court as may be appropriate. This case came before the undersigned on May 9, 2006 for an initial

appearance and arraignment of defendant Kenneth Bridges on the Superseding Indictment. Assistant

United States Attorney Hugh B. Ward, Jr. appeared on behalf of the government. Andrew Roskind

appeared as newly appointed counsel for the defendant, Kenneth Bridges. The defendant Bridges

also was present.

               The Court took up Mr. Roskind’s oral Motion To Extend the Motion Deadline for

his client and finding it well-taken, and not opposed by the government, the said oral Motion was

GRANTED, and a new motion date was set.

               Accordingly, it is ORDERED:

               (1) The defendant Kenneth Bridges will file any motions on or before
               June 26, 2006; and


                                                 1


Case 3:05-cr-00124-RLJ-HBG            Document 89         Filed 05/09/06    Page 1 of 2      PageID
                                            #: 13
            (2) Government will respond to any motions filed by Bridges on or
            before July 10, 2006.

            IT IS SO ORDERED.

                                        ENTER:


                                              s/ H. Bruce Guyton
                                        United States Magistrate Judge




                                           2


Case 3:05-cr-00124-RLJ-HBG      Document 89       Filed 05/09/06    Page 2 of 2   PageID
                                      #: 14
